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Nov 4, 2016

 

 

 

CENTRAL DISTRICT OF CAL]]"OR.\'IA
BY: P M C DEPL'TY

 

 

 

JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MHER KHUKOYAN, ) Case NO. 2116-cV-06278-SVW-RAO
)
Plaintiff, ) ORDER
)
vs. )
)
DIISCOVER PRODUCTS, INC., et )
a .
’ )
Defendant. )
)

 

IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties

to dismiss this case With prejudice pursuant to Federal Rules of Civil Procedure
41(a)(1)(A)(ii), the entire case is dismissed With prejudice Each party shall bear

their own costs and attorneys’ fees.

Dated this 4th day of November, 2016.

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The Uonor"ble S*"phen V. Wilson

 

Order to Dism.iss - 1

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